Case: 1:22-cv-00204-MRB-SKB Doc #: 34-2 Filed: 01/25/23 Page: 1 of 4 PAGEID #: 438



   From:                    Nate Rose
   To:                      jamalaskan@gmail.com
   Cc:                      Dawn Frick
   Subject:                 RE: Video - Document 20-1; 1:22-cv-00204 Decastro v. Wagner
   Date:                    Tuesday, January 24, 2023 9:19:15 AM
   Attachments:             imaqe001.png


   Mr. Decastro,


  I still have not heard back from you regarding the video of the incident at issue in this matter that
  you failed to serve us with. As such, we will be filing a motion for an extension of time if we do not
  hear back from you by 4:00 p.m. eastern standard time today. Please let us know whether you plan
  to oppose this motion, and if so, please promptly provide us with the video at issue.

   Best regards,

   Nate

   Nale Rose, Esq.
   Sunlyli.., Do\Yd & Turnrr Co., L.P.A.
   nrose@sdtlawyers,com
   www.sdtlawyers.com

   Dayton Office
   816~\()Id Yankee St., Suit<'(~
   Dayton, ()hio 45458
   937-222-2333, Esl. 330
   937-222-19711 (fox)

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                                                                                                           Exhibit B
Case: 1:22-cv-00204-MRB-SKB Doc #: 34-2 Filed: 01/25/23 Page: 2 of 4 PAGEID #: 439



   From: Nate Rose
   Sent: Tuesday, January 24, 2023 9:18 AM
  To: iamalaskan@gmail.com
   Cc: Dawn Frick <Dfrick@sdtlawyers.com>
   Subject: RE: Video· Document 20·1; 1:22-cv-00204 Decastro v. Wagner

   Mr. Decastro,


   I still have not heard back from you regarding the video of the incident at issue in this matter that
   you failed to serve us with. As such, we will be filing a motion for an extension of time if we do not
   hear back from you by 4:00 p.m. eastern standard time today. Please let us know whether you plan
   to oppose this motion, and if so, please promptly provide us with the video at issue.

   Best regards,


   Nate

   Nate Rose, Esq.
   Sunlyk, Dtn\·d S.: Turner    (~o.,   L.P.;\.
   nrose@sdtlawyers.com
   www.sdtlawyers.com


   Dayton Office
   Sl<iJ ()Id '\'ankee St. 1 Suite C
   D11yton 1 ()hio 45458
   937-222-233.l, Ext. 330
   937-222-1970 (fax)

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Case: 1:22-cv-00204-MRB-SKB Doc #: 34-2 Filed: 01/25/23 Page: 3 of 4 PAGEID #: 440



   From: Nate Rose
  Sent: Monday, January 23, 2023 9:07 AM
  To: iamalaskan@grnall.con1
   Cc: Dawn Frick <Dfrick@scltlawyers.com>
   Subject: Video - Document 20-1; 1:22-cv-00204 Decastro v. Wagner

   Mr. Decastro,


   Attached as an exhibit to your Amended Complaint was a USB drive containing a video of the
   incident at issue. I have attached a screenshot of the USB drive for your convenience. However, we
   were never served with a copy of that USB drive. Accordingly, I must request that you provide us
   with a copy of the video via email. Otherwise, we may be forced to file for an extension of time until
   you have properly served us with a copy of the video.

   Best regards,


   Nate

   Nall' Hus<', Esq.
   Surdyk, no,\'d & Turll('I' (;o.I L.P.A.
   nrose@sdtlawyers.com
   www.sdtlawyers.com


   Dayton Office
   8163 ()Id Yankee St., Suif('                     (~
   I>ayton. ()hio 45458
   937-222-2333, Ext. 330
   937-222-1970 (fa,)

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   \Vest (;hcstcr, Ohio 45069
   Ph. 513~206-9998



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Case: 1:22-cv-00204-MRB-SKB Doc #: 34-2 Filed: 01/25/23 Page: 4 of 4 PAGEID #: 441
